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 2   455 Capitol Mall, Suite 350
     Sacramento, California 95814
 3   Telephone (916) 498-9871
 4   Attorney for Defendant
     KHAMLE KEOVILAY
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,      )
                                    )     CR. S-09-222-TLN
 9                    Plaintiff,    )
                                    )     STIPULATION AND ORDER
10               v.                 )
                                    )
11   KHAMLE KEOVILAY, et al.,       )     DATE: June 20, 2013
                                    )     TIME: 9:30 a.m.
12                    Defendants.   )     JUDGE: Hon. Troy L. Nunley
                                    )
13   __________________________     )
14
15        It is hereby stipulated and agreed to by the United States of
16   America through TODD D. LERAS, Assistant United States Attorney,
17   defendant, KHAMLE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
18   defendant, DAVID CHENG by and through his attorney, ALICE W. WONG,
19   defendant DUNG NGUYEN, by and through his attorney, MICHAEL D. LONG,
20   SANG HIN SAELEE, by and through his attorney, OLAF W. HEDBERG,
21   defendant MINH THAM, by and through his attorney, MICHAEL BIGELOW,
22   defendant LONG NGUYEN, by and through his attorney, CHRISTOPHER H.
23   WING, and defendant TUAN DAO, by and through his attorney, KEN GIFFARD,
24   that the status conference set for Thursday, June 6, 2013, be continued
25   to a status conference/change of plea on Thursday, June 20, 2013, at
26   9:30 a.m.
27        This continuance is being requested because defense counsel needs
28   additional time to prepare, to review discovery, and to interview
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 1   witnesses.   The parties have received a large amount of discovery,
 2   including Title III documents.
 3        Furthermore, the parties stipulate and agree that the interest of
 4   justice served by granting this continuance outweighs the best interest
 5   of the public and the defendants in a speedy trial.          (18 U.S.C.
 6   §3161(h)(7)(A)).
 7        Speedy trial time is to be excluded from the date of this order
 8   through the date of the status conference/change of plea set for June
 9   20, 2013, pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time
10   to prepare] (Local Code T4).
11                                     Respectfully submitted,
12
     DATED: June 4, 2013               /s/ Dennis S. Waks
13
                                       DENNIS S. WAKS
14                                     Attorney for Defendant
                                       KHAMLE KEOVILAY
15
16                                     /s/ Dennis S. Waks for
17                                     ALICE W. WONG, Attorney for
                                       DAVID CHENG
18
                                       /s/ Dennis S. Waks for
19
                                       MICHAEL BIGELOW
20                                     Attorney for Defendant
                                       MINH THAM
21
22                                     /s/ Dennis S. Waks for
23                                     MICHAEL D. LONG, Attorney for
                                       DUNG NGUYEN
24
25
                                       /s/ Dennis S. Waks for
26
                                       OLAF W. HEDBERG, Attorney for
27                                     SANG HIN SAELEE
28


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 1                                       /s/ Dennis S. Waks for
 2                                       CHRISTOPHER H. WING, Attorney for
                                         LONG NGUYEN
 3
 4                                       /s/ Dennis S. Waks for
 5                                       KEN GIFFARD, Attorney for
                                         TUAN DAO
 6
 7                                       BENJAMIN B. WAGNER
                                         United States Attorney
 8
 9   DATED: June 4, 2013                 /s/ Dennis S. Waks for
10                                       TODD D. LERAS
                                         Assistant U.S. Attorney
11   / / /
12   / / /
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 1                                      O R D E R
 2         Based on the stipulation of the parties and good cause appearing
 3   therefrom, the Court hereby finds that the failure to grant a
 4   continuance in this case would deny defense counsel reasonable time
 5   necessary for effective preparation, taking into account the exercise
 6   of due diligence.     The Court specifically finds that the ends of
 7   justice served by the granting of such continuance outweigh the
 8   interests of the public and the defendants in a speedy trial.               Based on
 9   these findings and pursuant to the stipulation of the parties, the
10   Court hereby adopts the stipulation of the parties in its entirety as
11   its order.   Time is excluded from computation of time within which the
12   trial of this matter must be commenced beginning from the date of the
13   stipulation through and including June 20, 2013, pursuant to 18 U.S.C.
14   §   3161(h)(7)(A) and (B)(iv) [reasonable time for defense counsel to
15   prepare] and Local Code T4.      A new status conference date is hereby set
16   for June 20, 2013, at 9:30 a.m..
17
18   DATED: June 4, 2013
19                                                Troy L. Nunley
                                                  United States District Judge
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